Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 1 of 30




           Exhibit A
1/17/23, 11:32 AM        Case 2:23-cv-00188-CFK Document 1-3     Filed
                                                         Civil Docket   01/17/23 Page 2 of 30
                                                                      Report


                                                                                                                 No Items in Cart
                                                                                                                   Civil Docket Report
                                                                            A $5 Convenience fee will be added to the transaction at checkout.
  Case Description

    Case ID:                  230100940
    Case Caption:             DURGIN VS THE HERSHEY COMPANY
    Filing Date:              Wednesday, January 11th, 2023
    Court:                    CLASS ACTION
    Location:                 CITY HALL
    Jury:                     NON JURY
    Case Type:                CLASS ACTION
    Status:                   WAITING TO LIST CASE MGMT CONF

  Related Cases

  No related cases were found.

  Case Event Schedule

  No case events were found.

  Case motions

  No case motions were found.

  Case Parties

                                                                      Expn
         Seq #                                           Assoc                       Type                           Name
                                                                      Date
                1                                                                    ATTORNEY FOR                   WESTON, JOHN
                                                                                     PLAINTIFF                      K
   Address: SACKS WESTON LLC                                              Aliases: none
            1845 WALNUT ST
            SUITE 1600
            PHILADELPHIA PA 19103
            (215)925-8200
            jweston@sackslaw.com


                2                                                 1                  PLAINTIFF                      DURGIN,
                                                                                                                    DENETHIA
   Address: 145 SOUTH 13TH ST. - APT.                                     Aliases: none
            305
            PHILADELPHIA PA 19107




https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                                                     1/3
1/17/23, 11:32 AM        Case 2:23-cv-00188-CFK Document 1-3     Filed
                                                         Civil Docket   01/17/23 Page 3 of 30
                                                                      Report

                3                                                                 DEFENDANT           HERSHEY
                                                                                                      COMPANY
   Address: 100 CRYSTAL A DRIVE                                           Aliases: none
            HERSHEY PA 17033


                4                                                                 TEAM LEADER         PATRICK, PAULA
   Address: CITY HALL                                                     Aliases: none
            ROOM 481
            PHILADELPHIA PA 19107
            (215)686-8338


  Docket Entries

   Filing
                             Docket Type                                            Filing Party     Disposition Amount
   Date/Time
   11-JAN-2023               ACTIVE CASE
   09:57 AM
    Docket Entry: E-Filing Number: 2301020240


   11-JAN-2023               COMMENCEMENT OF CIVIL ACTION WESTON, JOHN K
   09:57 AM
      Documents:                Click link(s) to preview/purchase the documents
                             Final Cover


    Docket Entry: none.


   11-JAN-2023               COMPLAINT FILED NOTICE GIVEN                           WESTON, JOHN K
   09:57 AM
      Documents:               Click link(s) to preview/purchase the documents
                             Durgin class action complaint final.pdf
                             Durgin commerce cover sheet.pdf

                             COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS AFTER
    Docket Entry:
                             SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


   11-JAN-2023               WAITING TO LIST CASE MGMT                              WESTON, JOHN K
   09:57 AM                  CONF
    Docket Entry: none.




https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                                   2/3
1/17/23, 11:32 AM        Case 2:23-cv-00188-CFK Document 1-3     Filed
                                                         Civil Docket   01/17/23 Page 4 of 30
                                                                      Report


                                                                          Search Home




https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                         3/3
                             Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 5 of 30
                      Court of Common Pleas of Philadelphia                                                       For Office of Judicial Records Use Only (Docket Number)
                               County Trial Division
                          Civil Cover Sheet
PLAINTIFF'S NAME                                                                         DEFENDANT'S NAME
                                                                                                                               Filed and Attested by the
DENETHIA DURGIN                                                                          THE HERSHEYOffice
                                                                                                      COMPANY
                                                                                                           of Judicial                            Records
PLAINTIFF'S ADDRESS                                                                      DEFENDANT'S ADDRESS
                                                                                                                                  11 JAN 2023 09:57 am
                                                                                                                                        C. PERRY
145 South 13th Street, Apt. 305, Philadelphia, PA 19107                                  100 Crystal A Drive, Hershey, PA 17033
PLAINTIFF'S NAME                                                                         DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                                      DEFENDANT'S ADDRESS




PLAINTIFF'S NAME                                                                         DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                                      DEFENDANT'S ADDRESS




TOTAL NUMBER OF PLAINTIFFS                  TOTAL NO. OF DEFENDANTS               COMMENCEMENT OF ACTION

                                                                                        ✔   Complaint                  Petition Action                       Notice of Appeal

                                                                                            Writ of Summons           Transfer From Other Jurisdictions

AMOUNT IN CONTROVERSY         COURT PROGRAMS

                                    Arbitration                        Mass Tort                                Minor Court Appeal                         Settlement
    $50,000.00 or less
                                ✔   Jury                               Savings Action                           Statutory Appeals                                    Minors
✔ More than $50,000.00
                                    Non-Jury                           Petition                             ✔   Commerce (Completion of                              W/D/Survival
                                                                                                                Addendum Required)
                                    Other: __________________________________________
CASE TYPE AND CODE (SEE INSTRUCTIONS)



Product Liability 2P
STATUTORY BASIS FOR CAUSE OF ACTION (SEE INSTRUCTIONS)




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                                           IS CASE SUBJECT TO COORDINATION ORDER?


                                                                                                                                                 Yes                 No




    TO THE OFFICE OF JUDICIAL RECORDS:
    Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant:
    Papers may be served at the address set forth below.
NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                                    ADDRESS (SEE INSTRUCTIONS)


John K. Weston                                                                           1845 Walnut Street - Suite 1600
PHONE NUMBER                                FAX NUMBER                                   Philadelphia, PA 19103
215-925-8200                                267-639-5422
SUPREME COURT IDENTIFICATION NO.                                                         E-MAIL ADDRESS


26314                                                                                    jweston@sackslaw.com
SIGNATURE                                                                                DATE

                                                                                         January 11, 2023
                                                                                                                                                            Case ID: 230100940
01-101B_Civil Cover Sheet_COMMERCE PROGRAM ADDENDUM (Rev. 8/2014)
                             Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 6 of 30

EXHIBIT A

                                                COMMERCE PROGRAM ADDENDUM
                                                    TO CIVIL COVER SHEET
       This case is subject to the Commerce Program because it is not an arbitration matter and it falls within one or
       more of the following types (check all applicable):
       1.     Actions relating to the internal affairs or governance, dissolution or liquidation, rights or obligations between or
              among owners (shareholders, partners, members), or liability or indemnity of managers (officers, directors,
              managers, trustees, or members or partners functioning as managers) of business corporations, partnerships,
              limited partnerships, limited liability companies or partnerships, professional associations, business trusts, joint
              ventures or other business enterprises, including but not limited to any actions involving interpretation of the
              rights or obligations under the organic law (e.g., Pa. Business Corporation Law), articles of incorporation, by-
              laws or agreements governing such enterprises;
       2.     Disputes between or among two or more business enterprises relating to transactions, business relationships or
              contracts between or among the business enterprises. Examples of such transactions, relationships and
              contracts include:
                        a.   Uniform Commercial Code transactions;
                        b.   Purchases or sales of business or the assets of businesses;
                        c.   Sales of goods or services by or to business enterprises;
                        d.   Non-consumer bank or brokerage accounts, including loan, deposit cash management and
                             investment accounts;
                        e. Surety bonds;
                        f. Purchases or sales or leases of, or security interests in, commercial, real or personal property; and
                        g. Franchisor/franchisee relationships.
       3.     Actions relating to trade secret or non-compete agreements;
       4.     "Business torts," such as claims of unfair competition, or interference with contractual relations or
              prospective contractual relations;
       5.     Actions relating to intellectual property disputes;
       6.     Actions relating to securities, or relating to or arising under the Pennsylvania Securities Act;
       7.     Derivative actions and class actions based on claims otherwise falling within these ten types, such as shareholder
              class actions, but not including consumer class actions, personal injury class actions, and products liability class
              actions;
       8.     Actions relating to corporate trust affairs;
       9.     Declaratory judgment actions brought by insurers, and coverage dispute and bad faith claims brought by insureds,
              where the dispute arises from a business or commercial insurance policy, such as a Commercial General Liability
              policy;
      10. Third-party indemnification claims against insurance companies where the subject insurance policy is a
               business or commercial policy and where the underlying dispute would otherwise be subject to the
               Commerce Program, not including claims where the underlying dispute is principally a personal injury
               claim.




01-101B (Rev. 8/2014)
                                                                                                                     Case ID: 230100940
                             Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 7 of 30

                                                     Instructions for Completing Civil Cover Sheet
Rules of Court require that a Civil Cover Sheet be attached to any document commencing an action (whether the action is commenced by Complaint, Writ of Summons, Notice
of Appeal, or by Petition). The information requested is necessary to allow the Court to properly monitor, control and dispose cases filed. A copy of the Civil Cover Sheet
must be attached to service copies of the document commencing an action. The attorney or non-represented party filing a case shall complete the form as follows:
A.    Parties
        i.   Plaintiffs/Defendants
             Enter names (last, first, middle initial) of plaintiff, petitioner or appellant ("plaintiff") and defendant. If the plaintiff or defendant is a government agency or cor-
             poration, use the full name of the agency or corporation. In the event there are more than three plaintiffs and/or three defendants, list the additional parties on the
             Supplemental Parties Form. Husband and wife are to be listed as separate parties.
       ii.   Parties' Addresses
             Enter the address of the parties at the time of filing of the action. If any party is a corporation, enter the address of the registered office of the corporation.
      iii.   Number of Plaintiffs/Defendants: Indicate the total number of plaintiffs and total number of defendants in the action.
B.    Commencement Type: Indicate type of document filed to commence the action.
C.    Amount in Controversy: Check the appropriate box.
D.    Court Program: Check the appropriate box.
E.    Case Types: Insert the code number and type of action by consulting the list set forth hereunder. To perfect a jury trial, the appropriate fees must be paid as provided
      by rules of court.

      Proceedings Commenced by Appeal                                   Actions Commenced by Writ of Summons or Complaint
      Minor Court                                                       Contract                                                  Professional Malpractice
         5M Money Judgment                                                  1C     Contract                                           2D Dental
         5L Landlord and Tenant                                             1T     Construction                                       4L Legal
         5D Denial Open Default Judgment                                    1O     Other:                                            2M Medical
         5E Code Enforcement                                            Tort                                                          4Y Other:
              Other:                                                       2B   Assault and Battery                               1G Subrogation
      Local Agency                                                         2L   Libel and Slander                                 Equity
         5B Motor Vehicle Suspension -                                     4F   Fraud                                                E1 No Real Estate
              Breathalizer
                                                                           1J   Bad Faith                                            E2 Real Estate
         5V Motor Vehicle Licenses,
                                                                           2E   Wrongful Use of Civil Process                        1D Declaratory Judgment
              Inspections, Insurance
         5C Civil Service                                                       Other:                                               M1 Mandamus
         5K Philadelphia Parking Authority                              Negligence                                                Real Property
         5Q Liquor Control Board                                           2V Motor Vehicle Accident                                 3R Rent, Lease, Ejectment
         5R Board of Revision of Taxes                                     2H Other Traffic Accident                                 Q1 Quiet Title
         5X Tax Assessment Boards                                          1F No Fault Benefits                                      3D Mortgage Foreclosure - Residential
         5Z Zoning Board                                                   4M Motor Vehicle Property Damage                                    Owner Occupied
         52 Board of View                                                  2F Personal Injury - FELA                                 3F Mortgage Foreclosure - Not Residential
         51 Other:                                                         2O Other Personal Injury                                            Not Owner Occupied
      Other:                                                               2S Premises Liability - Slip & Fall                       1L Mechanics Lien
                                                                           2P Product Liability                                      P1 Partition
      Proceedings Commenced by Petition
         8P Appointment of Arbitrators                                     2T Toxic Tort                                                   Prevent Waste
         8C Name Change - Adult                                                 T1 Asbestos                                          1V Replevin
         8L Compel Medical Examination                                          TZ DES                                            1H Civil Tax Case - Complaint
         8D Eminent Domain                                                      T2 Implant                                           Other:
         8E Election Matters                                               3E Toxic Waste
         8F Forfeiture                                                          Other:
         8S Leave to Issue Subpoena
         8M Mental Health Proceedings
         8G Civil Tax Case - Petition
         Other:
F.    Commerce Program
      Commencing January 3, 2000 the First Judicial District instituted a Commerce Program for cases involving corporations and corporate law issues, in general. If the action
      involves corporations as litigants or is deemed a Commerce Program case for other reasons, please check this block AND complete the information on the "Commerce
      Program Addendum". For further instructions, see Civil Trial Division Administrative Docket 01 of 2000.
G.    Statutory Basis for Cause of Action
      If the action is commenced pursuant to statutory authority ("Petition Action"), the specific statute must be identified.
H.    Related Pending Cases
      All previously filed related cases, regardless of whether consolidated by Order of Court or Stipulation, must be identified.
I.    Plaintiff's Attorney
      The name of plaintiff's attorney must be inserted herein together with other required information. In the event the filer is not represented by an attorney, the name of the
      filer, address, the phone number and signature is required.

                 The current version of the Civil Cover Sheet may be downloaded from the FJD's website
                                                   http://courts.phila.gov

01-101B (Rev. 8/2014)
                                                                                                                                                            Case ID: 230100940
         Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 8 of 30




SACKS WESTON, LLC                                                          Filed and Attested by the
John K. Weston                                        Attorneys for     Plaintiff of Judicial Records
                                                                          Office
                                                                              11 JAN 2023 09:57 am
Attorney No. 26314                                                                   C. PERRY
Andrew B. Sacks
Attorney No. 41390
1845 Walnut Street, Suite 1600
Philadelphia, Pennsylvania 19103
T: 215-925-8200
F: 267-639-5422
jweston@sackslaw.com
_______________________________

DENETHIA DURGIN                                       PHILADELPHIA COUNTY
145 South 13th Street, Apt. 305                       COURT OF COMMON PLEAS
Philadelphia, PA 19107                                CIVIL DIVISION

V.                                                    CIVIL ACTION

THE HERSHEY COMPANY                                   NO.
100 Crystal A Drive
Hershey, PA 17033                                     CLASS ACTION

                                      NOTICE TO DEFEND
You have been sued in court. If you wish to defend against the claims set forth in the following
pages, you must take action within twenty (20) days after this complaint and notice are served, by
entering a written appearance personally or by attorney and filing in writing with the court your
defenses or objections to the claims set forth against you. You are warned that if you fail to do so
the case may proceed without you and a judgment may be entered against you by the court without
further notice for any money claimed in the complaint of for any other claim or relief requested by
the plaintiff. You may lose money or property or other rights important to you.
You should take this paper to your lawyer at once. If you do not have a lawyer or cannot afford
one, go to or telephone the office set forth below to find out where you can get legal help.

                                  Philadelphia Bar Association
                             Lawyer Referral and Information Service
                                 1101 Market Street, 11th Floor
                                Philadelphia, Pennsylvania 19107
                                         (215) 238-6333

                                               AVISO
Le han demandado a usted en la corte. Si usted quiere defenderse de estas demandas expuestas en
las paginas siguientes, usted tiene veinte (20) dias de plazo al partir de la fecha de la demanda y la
notificacion. Hace falta ascentar una comparencia escrita o en persona o con un abogado y entregar



                                                                                            Case ID: 230100940
        Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 9 of 30




a la corte en forma escrita sus defensas o sus objeciones a las demandas en contra de su persona.
Sea avisado que si usted no se defiende, la corte tomara medidas y puede continuar la demanda en
contra suya sin previo aviso o notificacion. Ademas, la corte puede decider a favor del demandante
y requiere que usted cumpla con todas las provisiones de esta demanda. Usted puede perder dinero
o sus propiedades u otros derechos importantes para usted.

Lleve esta demanda a un abogado immediatamente. Si no tiene abogado o si no tiene el dinero
suficiente de pagar ta! servicio. Vaya en persona o !lame por telefono a la oficina cuya direccion
se encuentra escrita abajo para averiguar donde se puede conseguir asistencia legal.

                           Asociacion De Licenciados De Filadelfia
                          Servicio De Referencia E Informacion Legal
                                 1101 Market Street, 11th Piso
                                 Filadelfia, Pennsylvania 19107
                                         (215) 238-6333




                                                                                         Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 10 of 30




SACKS WESTON, LLC
John K. Weston                              Attorneys for Plaintiff
Attorney No. 26314
Andrew B. Sacks
Attorney No. 41390
1845 Walnut Street, Suite 1600
Philadelphia, Pennsylvania 19103
T: 215-925-8200
F: 267-639-5422
jweston@sackslaw.com
_______________________________

DENETHIA DURGIN                             PHILADELPHIA COUNTY
145 South 13th Street, Apt. 305             COURT OF COMMON PLEAS
Philadelphia, PA 19107                      CIVIL DIVISION

V.                                          CIVIL ACTION

THE HERSHEY COMPANY                         NO.
100 Crystal A Drive
Hershey, PA 17033                           CLASS ACTION


                        CLASS ACTION COMPLAINT

                                    PARTIES

      1.    Plaintiff DENETHIA DURGIN is an adult individual and a citizen of

the Commonwealth of Pennsylvania, who resides at 145 South 13th Street,

Apartment 305, Philadelphia, Philadelphia County, Pennsylvania 19107.

      2.    Defendant THE HERSHEY COMPANY is a corporation organized

and existing under the laws of the State of Delaware, and maintaining its principal

place of business at 100 Crystal A Drive, Hershey, Dauphin County, Pennsylvania

17033.


                                                                           Case ID: 230100940
       Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 11 of 30




                          JURISDICTION AND VENUE

      3.     This Court has jurisdiction over this controversy pursuant to the

provisions of 42 Pa.C.S.A. §931, this being an action not subject to the exclusive

jurisdiction of another court.

      4.     Venue is proper in Philadelphia County pursuant to the provisions of

Pa.R.C.P. 2179(a)(2), (a)(3) and (a)(4), because Defendant regularly conducts

business in Philadelphia County; the cause of action arose in Philadelphia County;

and transactions and occurrences out of which the cause of action arose occurred in

Philadelphia County.



                           GENERAL ALLEGATIONS

      5.     Defendant manufactures and sells various chocolate products,

including Hershey’s Special Dark Mildly Sweet Chocolate, Lily’s Extra Dark

Chocolate 70% Cocoa, and Lily’s Extremely Dark Chocolate 85% Cocoa [the

“Products”]. Hershey sells the Products throughout the United States, including in

Pennsylvania.

      6.     A December 2022 report by Consumer Reports related that “[r]esearch

has found that some dark chocolate bars contain cadmium and lead—two heavy

metals linked to a host of health problems in children and adults,” in amounts such


                                        2
                                                                           Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 12 of 30




that “eating just an ounce a day would put an adult over a level that public health

authorities and [Consumer Report’s] experts say may be harmful for at least one of

those heavy metals.” Among those containing substantial levels of lead and

cadmium are the Products pictured below.




      7.    As shown above, Hershey’s Special Dark Mildly Sweet tested at 265%

of “California’s maximum allowable dose level (MADL) for lead.” One ounce of

this Products contains 1.325mcg of lead, whereas California’s MADL is 0.5

micrograms. Similarly, Lily’s Extra Dark Chocolate 70% Cocoa tested at 144% of

the MADL for lead, and Lily’s Extremely Dark Chocolate 85% Cocoa tested at

143% of the MADL for lead, and 101% for cadmium.




                                        3
                                                                           Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 13 of 30




      8.     Lead and cadmium are heavy metals and their presence in food, alone

or combined, poses a serious safety risk to consumers because they can cause cancer,

and significant and often irreversible damage to brain development, liver, kidneys,

bones, and other major health problems. As Consumer Reports noted, “both

cadmium and lead pose serious health risks” and, with respect to lead specifically,

“no amount of it is considered safe.”

      9.     As described more fully below, consumers who purchased the Products

were injured by Hershey’s acts and omissions concerning the presence of lead and

cadmium. No reasonable consumer would know, or have reason to know, that the

Products contain heavy metals, including lead and cadmium. Worse, as companies

across the industry have adopted methods to limit heavy metals in their dark

chocolate products, Hershey has stood idly by with a reckless disregard for its

consumers’ health and well-being.

      10.    The harmful effects of lead are well-documented, particularly on

children. Exposure puts children at risk for lowered IQ, behavioral problems (such

as attention deficit hyperactivity disorder (ADHD)), type 2 diabetes, and cancer,

among other health issues. Heavy metals also pose risks to adults. Even modest

amounts of heavy metals can increase the risk of cancer, cognitive and reproductive

problems, and other adverse conditions. As such, it is important to limit exposure.




                                         4
                                                                             Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 14 of 30




      11.    “No amount of lead is known to be safe.” Exposure to lead may cause

anemia, weakness, and kidney and brain damage. Lead affects almost every organ

and system in the body and accumulates over time, leading to severe health risks and

toxicity, including inhibiting neurological function, anemia, kidney damage,

seizures, and in extreme cases, coma and death. Lead can also cross the fetal barrier

during pregnancy, exposing the mother and developing fetus to serious risks,

including reduced growth and premature birth. Lead exposure is also harmful to

adults as more than 90 percent of the total body burden of lead is accumulated in the

bones, where it is stored. Lead in bones may be released into the blood, re-exposing

organ systems long after the original exposure.

      12.    Cadmium, also a heavy metal, likewise poses a serious safety risk to

consumers because it can cause cancer and is a known teratogen, an agent which

causes malformation of an embryo. Exposure to cadmium can affect the kidneys,

lungs and bones. There may be no safe level of exposure to a carcinogen, so all

contact should be reduced to the lowest possible level. It is considered a Class 1

carcinogen by the World Health Organization. Even at low exposure, cadmium can

cause nausea, vomiting, diarrhea and abdominal pain. And, because cadmium builds

up in the body, even at low dosage, repeated exposure can cause liver and kidney

damage, anemia and loss of smell. According to the Centers for Disease Control,

“exposure to low levels of cadmium in . . . food . . . over time may build up cadmium


                                         5
                                                                             Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 15 of 30




in the kidneys and cause kidney disease and fragile bones” and is indisputably

“considered a cancer-causing agent.”

      13.    It is undisputed that the Products contain lead and cadmium, and that

Hershey has known as much for at least the last five years. In 2017, Hershey (and

several other manufacturers and distributors of dark chocolate products) received

notice that at least some of its dark chocolate products, including Hershey’s Special

Dark Mildly Sweet Chocolate, contained excessive cadmium and/or lead, including

by being provided with certificates of merit that independent experts confirmed the

presence of heavy metals in the Hershey Products. However, Hershey failed to warn

consumers that consuming the Products exposes consumers to those chemicals.

      14.    Moreover, in December 2022, Consumer Reports, a consumer

protection and advocacy organization dedicated to independent product testing,

consumer-oriented research, and investigative journalism, tested 28 different dark

chocolate bars for lead and cadmium. The results showed that, for example, the

Hershey’s Special Dark Mildly Sweet Chocolate contained 1.325 mcg of lead per

ounce, which is more than 2.6x the Maximum Allowable Dose Level [“MADL”] of

0.5 mcg per ounce set by the California Office of Environmental Health Hazard

Assessment [“OEHHA”].

      15.    Notably, lead is getting into the Hershey Products after harvesting. As

Consumer Reports notes, “lead seems to get into cacao after beans are harvested.


                                         6
                                                                             Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 16 of 30




The researchers found that the metal was typically on the outer shell of the cocoa

bean, not in the bean itself. Moreover, lead levels were low soon after beans were

picked and removed from pods but increased as beans dried in the sun for days.

During that time, lead-filled dust and dirt accumulated on the beans.” Thus, on

information and belief, Hershey itself is responsible for lead being present in the

Products.

      16.   The global dark chocolate market has witnessed significant growth in

recent years and is expected to continue growing into 2023.

      17.   The growth of dark chocolate sales is premised, in part, on reasonable

consumers’ belief that dark chocolate is actually healthier than other food choices,

and especially healthier than other confectionaries and milk chocolates. “The

pervasive health and wellness trend continues to influence dark chocolate market,

with manufacturers incorporating organic ingredients and natural sweeteners. The

preference for dark chocolate over milk chocolates on accounts its health benefits

continues to remain intact,” especially as demand for healthy products, generally,

increases. Thus, the safety and health effects of the Products are material facts to

reasonable consumers.

      18.   Given the negative effects of toxic lead and cadmium on human

development, especially in embryos and children, and on adult health, the presence




                                         7
                                                                            Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 17 of 30




of toxic heavy metals in the Products is a material fact to reasonable consumers,

including Plaintiff and members of the Class.

      19.    A company as ubiquitous as Hershey has earned significant public trust

that its foods are safe and fit for regular consumption. Reasonable consumers believe

that Hershey would not sell products that are unsafe.

      20.    Reasonable consumers do not expect to consume heavy metals in the

Products.

      21.    Hershey knew that if the presence of toxic heavy metals in the Products

was disclosed to Plaintiff and the Class members, they would be unwilling to

purchase the Products or would pay less for them.

      22.    In light of Hershey’s knowledge that Plaintiff and the Class members

would be unwilling to purchase the Products or would pay less for the Products if

they knew that the Products contained toxic heavy metals, Hershey intentionally and

knowingly concealed this fact from Plaintiff and the Class Members, and did not

disclose the presence of lead or cadmium on the label of the Products.

      23.    Hershey knew or should have known that Plaintiff and the Class

members would rely upon the packages of the Products, and intended for them to do

so, but failed to disclose the presence of lead or cadmium.

      24.    Hershey knew or should have known that it owed consumers a duty of

care to adequately test for lead, cadmium, and other heavy metals, particularly


                                         8
                                                                             Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 18 of 30




considering that it was provided notice of independent expert testing of some of its

dark chocolate bars. Had Hershey done so, it would have known that its Products

contained significant levels of lead and cadmium. Alternatively, Hershey did know

that its Products contained significant levels of heavy metals and purposely hid that

fact from consumers.

      25.    Additionally, Hershey knew or should have been aware that a

reasonable consumer would consume the Products regularly, and possibly multiple

Products daily, leading to repeated exposure to both lead and cadmium, which each

independently accumulate in the body and its systems over time.

      26.    Hershey knew or should have known it could control the levels of lead

and cadmium in the Products by properly monitoring for heavy metal presence,

sourcing ingredients with less heavy metals, or none at all, adjusting its formulation

to reduce or eliminate heavy metals, or improve its manufacturing process to

eliminate introduction of lead caused by Hershey itself.

      27.    Prior to purchasing the Products, Plaintiff and the Class members were

exposed to, saw, read, and understood the labels of the Products, and relied upon the

same in purchasing the Products, but Hershey failed to disclose the presence of

heavy metals.

      28.    As a result of Hershey’s concealment of the fact that the Products

contained toxic heavy metals, including lead and cadmium, Plaintiff and the Class


                                          9
                                                                              Case ID: 230100940
       Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 19 of 30




members reasonably believed the Products were free from substances that would

negatively affect children’s development as well as their own health.

      29.    Had Plaintiff and the Class members known that the Products contained

toxic heavy metals, rendering them unsafe for consumption, they would not have

been willing to purchase the Products or would have paid less for them.

      30.    Therefore, as a direct and proximate result of Hershey’s omissions

concerning the Products, Plaintiff and the Class Members purchased the Products

and paid more than they were worth.

      31.    Plaintiff and the Class members were harmed in the form of the monies

they paid for the Products which they would not otherwise have paid had they known

the truth about the Products. Since the presence of toxic heavy metals, including lead

and cadmium, in the Products renders them unsafe for human consumption, the

Products that Plaintiff and the Class members purchased are worthless, or at a

minimum are worth less than Plaintiff and the Class paid for them.

      32.    Plaintiff regularly purchased Hershey’s Special Dark Mildly Sweet

Chocolate 85% Chocolate during the Class Period, making her purchases from a

variety of stores in Philadelphia.

      33.    When purchasing the Product, Plaintiff was seeking a chocolate bar she

believed to be healthier than other confectionaries, by virtue of its higher cocoa (and

thus lesser sugar) content. Moreover, Plaintiff would have avoided any food she


                                          10
                                                                               Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 20 of 30




knew contained toxic ingredients, especially heavy metals like lead and cadmium.

She would also have avoided purchasing any food she knew could increase her risk

of inhibited neurological function, anemia, kidney damage, seizures, coma, or death.

      34.    Plaintiff acted reasonably in purchasing the Product, whose label did

not disclose the presence of lead or cadmium, or the attendant health risks in

consuming the Product.

      35.    By omitting that its Products contains lead or cadmium, Hershey was

able to gain a greater share of the snack market, specifically the confectionary and

dark chocolate market, than it would have otherwise and to increase the size of the

market.

      36.    Plaintiff paid more for the Product, and would only have been willing

to pay less, or unwilling to purchase it at all, absent Hershey’s omissions regarding

the lead and cadmium content described herein.

      37.    Plaintiff would not have purchased the Product if she had known that it

was misbranded pursuant to California and FDA regulations, or that the Product

contained toxic lead or cadmium in the amounts found in the Products.

      38.    For these reasons, the Products were worth less than what Plaintiff and

the Class Members paid for them.




                                         11
                                                                             Case ID: 230100940
       Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 21 of 30




      39.    Plaintiff and the Class lost money as a result of Hershey’s omissions

and unfair practices in that they did not receive what they paid for when purchasing

the Products.

      40.    Plaintiff still wishes to purchase snack foods, including dark chocolate,

and continues to see the Hershey Products at stores where she shops. She would

purchase Hershey Products in the future if, because of an injunction requiring

Hershey to disclose lead or cadmium when present, she could be assured by the

absence of a disclosure that the Products no longer contained lead or cadmium. But

unless Hershey is enjoined in the manner Plaintiff requests, she may not be able to

reasonably determine whether the lead or cadmium in the Products has been

addressed, or whether Hershey is continuing to omit its presence.

      41.    Plaintiff’s substantive right to a marketplace free of fraud, where she is

entitled to rely with confidence on representations such as those made by Hershey,

continues to be violated every time Plaintiff is exposed to the Products’ labels.

      42.    Plaintiff’s legal remedies are inadequate to prevent these future injuries.



                       CLASS ACTION ALLEGATIONS

      43.    Plaintiff seeks to represent a class of all persons in the United States

who, at any time from four years preceding the date of the filing of this Complaint




                                          12
                                                                                Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 22 of 30




to the time a class is certified (the “Class Period”), purchased the Hershey Products

(the “Class”).

      44.    The members in the proposed Class are so numerous that individual

joinder of all members is impracticable.

      45.    Questions of law and fact common to Plaintiff and the Class include:

      a.     whether the omissions on the Products labels with respect to lead

             content are material, or likely to be material, to a reasonable consumer;

      b.     whether the omissions on the Products labels with respect to cadmium

             content are material, or likely to be material, to a reasonable consumer;

      c.     whether the omissions regarding lead content were reasonably likely to

             deceive a reasonable consumer;

      d.     whether the omissions regarding cadmium content were reasonably

             likely to deceive a reasonable consumer;

      e.     whether Hershey’s conduct violates public policy;

      f.     whether Hershey’s conduct violates state or federal food statutes or

             regulations;

      g.     whether Hershey made and breached warranties;

      h.     the proper amount of damages, including punitive damages;

      i.     the proper amount of restitution;

      j.     the proper scope of injunctive relief; and


                                           13
                                                                              Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 23 of 30




      k.     the proper amount of attorneys’ fees.

      46.    Plaintiff’s claims are typical of Class Members’ claims because they

are based on the same underlying facts, events, and circumstances relating to

Hershey’s conduct. Specifically, all Class Members, including Plaintiff, were

subjected to the same misleading and deceptive conduct when they purchased the

Products and suffered economic injury because the Products are misrepresented.

Absent Hershey’s business practice of deceptively and unlawfully labeling the

Products by omitting material information regarding its toxic lead and cadmium

content, Plaintiff and Class Members would not have purchased the Products or

would have paid less for them.

      47.    Plaintiff will fairly and adequately represent and protect the interests of

the Class, has no interests incompatible with the interests of the Class, and has

retained counsel competent and experienced in class action litigation, specifically

including litigation involving the false and misleading advertising of foods and

beverages.

      48.    Class treatment provides a fair and efficient method for adjudication of

the controversy.

      a.     The foregoing common questions of law and fact predominate over

             questions that affect only individual Class Members.




                                          14
                                                                                Case ID: 230100940
Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 24 of 30




b.   Regardless of the ultimate size of the class, no unusually difficult

     management issues are expected.

c.   Prosecution of separate actions by or against individual members of the

     class will create a risk of (i) inconsistent or varying adjudications with

     respect to individual members of the class which will confront the party

     opposing the class with incompatible standards of conduct; and/or (ii)

     adjudications with respect to individual members of the class which

     will as a practical matter be dispositive of the interests of other

     members not parties to the adjudications, or will substantially impair or

     impede their ability to protect their interests.

d.   Litigation already commenced by or against members of the class

     involving any of the same issues is in comparable early stages, and can

     be coordinated with this action.

e.   This Court is a particularly appropriate forum for litigation of the claims

     of the entire class, pursuant to the United States Supreme Court’s

     opinion in Bristol-Myers Squibb Co. v. Superior Court of California,

     San Francisco Cnty., ___ U.S. ___, 137 S.Ct. 1773 (2017).

f.   The amount which may be recovered by individual class members will

     not be so small in relation to the expense and effort of administering the




                                  15
                                                                        Case ID: 230100940
       Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 25 of 30




             action as not to justify a class action. To the contrary, a class action is

             the only procedure for class members to obtain any recovery.

      49.    Hershey has acted on grounds applicable to the Class, thereby making

appropriate final injunctive and declaratory relief concerning the Class as a whole.

      50.    As a result of the foregoing, class treatment is appropriate under

Pa.R.C.P. 1701 et seq.

          COUNT I – Breach of Implied Warranty of Merchantability

      51.    Plaintiff incorporates by reference the preceding allegations of this

Complaint.

      52.    Defendant manufactured and sold the Products, and prior to the time

the Products were purchased by Plaintiff and other Class Members, impliedly

warranted that the Products were of merchantable quality and fit for their ordinary

use, consumption by consumers, including children.

      53.    Hershey is a merchant with respect to the goods of this kind which were

sold to Plaintiff and the Class, and there were, in the sale to Plaintiff and the Class,

implied warranties that those goods were merchantable.

      54.    Pursuant to 13 Pa.C.S.A. §2314, Hershey impliedly warranted to retail

buyers that the Products were merchantable in that they (a) would pass without

objection in the trade or industry under the contract description, and (b) were fit for

the ordinary purposes for which the Products are used. Defendant breached these


                                          16
                                                                                Case ID: 230100940
       Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 26 of 30




implied warranties because the Products were unsafe in that they contained toxic

lead and cadmium. Therefore, the Products would not pass without objection in the

trade or industry and were not fit for the ordinary purpose for which they are used,

which is consumption by consumers, including children.

      55.    Hershey was on notice of this breach as it was aware of the lead and

cadmium in the Products, including based on receiving notice in at least 2017.

      56.    As a direct and proximate cause of Defendant’s breach of the implied

warranty, Plaintiff and the Class members have been injured and harmed because

they would not have purchased the Products or would have paid less for them if they

knew the truth about the Products, namely, that they contained lead and cadmium.

      WHEREFORE Plaintiff respectfully requests this Court to award the relief

described at the conclusion of this complaint.



                            COUNT II – Unjust Enrichment

      57.    Plaintiff incorporates by reference Paragraphs 1-50 of this complaint.

      58.    Plaintiff’s and class members’ purchase of the Products conferred

financial benefits on Defendant.

      59.    Defendant appreciated those financial benefits by using them to fund

its operations and to pay dividends to its shareholders.




                                         17
                                                                            Case ID: 230100940
      Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 27 of 30




      60.    Acceptance and retention of those benefits under the circumstances

described above would be inequitable.

      WHEREFORE Plaintiff respectfully requests this Court to award the relief

described at the conclusion of this complaint.



                              COUNT III – Strict Liability

      61.    Plaintiff incorporates by reference Paragraphs 1-50 of this complaint.

      62.    Defendant, which was engaged in the business of selling the Products,

had a duty to make and/or market the product free from a defective condition

unreasonably dangerous to the consumer.

      63.    The Products were defective at the time Defendant placed them on the

market.

      64.    The Products were expected to, and did, reach the Plaintiff and the other

class members without substantial change in the condition in which the Products

were sold.

      65.    The danger threatened by consumption of the Products was

unknowable and unacceptable to the average or ordinary consumer.

      66.    A the probability and seriousness of harm caused by the Products

outweighed Defendant’s burden or costs of taking precautions.




                                         18
                                                                              Case ID: 230100940
       Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 28 of 30




      WHEREFORE Plaintiff respectfully requests this Court to award the relief

described at the conclusion of this complaint.



                                 REQUESTED RELIEF

      67.    Plaintiff respectfully requests the Court to award Plaintiff and the Class

the following relief:

      a.     Pursuant to Pa.R.C.P. 1710, to certify a class composed of all persons

             in the United States who, at any time from four years preceding the date

             of the filing of this Complaint to the time a class is certified (the “Class

             Period”), purchased the Hershey Products.

      b.     To appoint Plaintiff as the class representative.

      c.     To appoint the undersigned as class counsel.

      d.     To order Defendant to bear the cost of class notice;

      e.     To order Defendant to destroy all misleading and deceptive advertising

             materials and product labels, and to recall all of the Products;

      f.     To order Defendant to disgorge all monies, revenues, and profits

             obtained from sales of the Products;

      g.     To order Defendant to pay compensatory damages and punitive

             damages as may be awarded at trial;

      h.     To award Plaintiff attorneys’ fees and costs of this action.


                                          19
                                                                                 Case ID: 230100940
Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 29 of 30




                                   Respectfully submitted:

                                   /s/ John K. Weston
                                   John K. Weston

                                   Andrew B. Sacks
                                   SACKS WESTON LLC
                                   Attorneys for Plaintiff




                              20
                                                               Case ID: 230100940
       Case 2:23-cv-00188-CFK Document 1-3 Filed 01/17/23 Page 30 of 30




                                  VERIFICATION

      I, DENETHIA DURGIN, state that I am the plaintiff in this action; that I have

read the foregoing class action complaint; and that, to the best of my knowledge,

information and belief, the facts set forth therein are true and correct.



Dated: January 10, 2023                        ______________________________
                                               DENETHIA DURGIN




                                                                            Case ID: 230100940
